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                                                             11:42 am, 3/10/22

                                                          Margaret Botkins
                                                           Clerk of Court
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